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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                              Bankruptcy Judge Thomas B. McNamara


   In re:
                                                      Bankruptcy Case No. 18-10965 TBM
   11380 SMITH RD LLC,                                Chapter 11

   Debtor.
 _______________________________________________________________________________

       ORDER ON JOINT MOTION TO APPROVE STIPULATED SETTLEMENT
             AGREEMENT AND FOR COMPLIANCE WITH L.B.R. 9013-1
 _______________________________________________________________________________

         THIS MATTER comes before the Court on the “Joint Motion to Approve Stipulated
 Agreement Between the Debtor and 11380 East Smith RD Investment, LLC” (Docket No. 98, the
 “Joint Motion”). The Debtor and 11380 East Smith RD Investment, LLC (the “Lender”) reached a
 resolution of the Lender’s: (1) Combined Motion for Relief from Stay and Motion to Dismiss
 (Docket Nos.70 and 75, the “Combined Motion for Relief and to Dismiss”); and (2) Objection
 (Docket No. 92) to the adequacy of Debtor’s Disclosure Statement Dated March 23, 2018 (Docket
 No. 58). The Debtor did not provide a notice of opportunity to object to the Joint Motion and the
 Stipulated Agreement.

         The Debtor and Lender seek approval of their Stipulated Agreement (Docket No. 98-2, the
 “Stipulated Agreement”) pursuant to 11 U.S.C. §§ 363(b) and 105. Section 363(b) provides that
 the “trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course of
 business, property of the estate.”

         In addition, the Stipulated Agreement provides that the Lender will be entitled to relief
 from stay in the event the Debtor does not refinance or sell the Debtor’s real property by December
 31, 2018. Fed. R. Bankr. P. 4001(d) sets forth the procedure for prosecuting a motion for approval
 of an agreement which conditions the use, sale or lease of property or one which modifies or
 terminates the Section 362 stay.

         Finally, the Debtor is seeking approval of a settlement which resolves the Debtor’s dispute
 with the Lender. Before such a settlement may be approved, Fed. R. Bankr. 9019(a) and
 2002(a)(3) require that the Debtor provide all creditors and parties in interest, including the United
 States Trustee, notice and an opportunity to object. The Debtor, however, has not filed and served
 a L.B.R. 9013-1 Notice of the Joint Motion and the Stipulated Agreement; nor has it complied with
 Fed. R. Bankr. P. 4001(d). Accordingly, the Court

         ORDERS that the Debtor shall comply with Fed. R. Bankr. P. 4001(d) and shall file a
 notice pursuant to L.B.R. 9013-1 providing 21 days’ notice to object to the Joint Motion and the
 Stipulated Agreement and serve such notice on all creditors and parties in interest; and
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         FURTHER ORDERS that if Debtor fails to file and serve such a notice by MAY 25, 2018,
 the Joint Motion may be denied, without prejudice.

        DATED this 18th day of May, 2018.

                                                  BY THE COURT:



                                                  Thomas B. McNamara,
                                                  United States Bankruptcy Judge
